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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 0:20-CV-61872-AHS

   ALAN DERSHOWITZ,

            Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/

                  DECLARATION OF KATHERINE M. BOLGER IN SUPPORT OF
                      CNN’S MOTION TO COMPEL COMPLIANCE WITH
                            APRIL 21, 2022 DISCOVERY ORDER

   I, KATHERINE M. BOLGER, declare:

            1.        I am a partner at Davis Wright Tremaine LLP, counsel to Defendant Cable News

   Network, Inc. (“CNN”) in this action. I submit this declaration in support of CNN’S Motion to

   Compel Plaintiff’s Compliance With April 21, 2022 Discovery Order (“Motion”).

            2.        On April 21, 2022, Hon. Alicia O. Valle, who was then the Magistrate Judge

   assigned to this case, held a hearing to address all of the pending motions to compel (the “April 21

   Hearing”). At the conclusion of the hearing, Judge Valle issued rulings on each of the pending

   motions and, later that day, issued a Paperless Order on Discovery Motions that granted in part

   and denied in part CNN’s Motions to Compel (ECF Nos. 52, 72), granted in part and denied in

   part Plaintiff’s first Motions to Compel (ECF Nos. 51, 53), and denying Plaintiff’s March 31, 2022

   Motion to Compel (ECF No. 85). See ECF No. 101.

            3.        At the conclusion of the April 21 Hearing, Judge Valle directed the parties to serve

   supplemental written responses to the other parties’ discovery requests based on the Court’s




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   resolution of the motions to compel, and to produce any additional documents pursuant to the

   Court’s orders by May 9, 2022.

            4.        On May 9, 2022, CNN served supplemental written responses to Plaintiff’s Request

   for Production and Interrogatories and made a supplemental production of all of the additional

   documents ordered by the Court at the April 21 Hearing.

            5.        On May 9, 2022, CNN received Plaintiff’s supplemental responses to CNN’s First

   Request for Production, Second Request for Production and Interrogatories as attachments to an

   email from Plaintiff’s then-counsel, Brian Rodier. A true and correct copy of that email is attached

   hereto as Exhibit 1. Plaintiff’s supplemental responses to CNN’s First Request for Production is

   attached hereto as Exhibit 2.

            6.        In the email from Mr. Rodier, he stated “Documents will be sent under separate

   cover.” Plaintiff did not, however, produce any documents on that date.

            7.        Plaintiff did not make his first supplemental document production until a week

   later, on May 16, 2022, at which time Plaintiff produced forty pages of emails and articles, all of

   which bore a bates stamp from a different case, in addition to the bates stamp for this case. Plaintiff

   also produced a voicemail audio recording.

            8.        In the email from Mr. Rodier attaching that initial supplemental production, he

   stated that the supplemental production was “not complete and there will be more coming, likely

   tomorrow.” He also addressed the logistics of Plaintiff obtaining and producing responsive emails

   from his Harvard University account:

            [P]laintiff is no longer in possession of any Harvard emails before
            2020. Apparently, Harvard automatically archives all emails of a certain age. This
            is where the criticism emails 1 exist as strangers do not have his personal email. I
            have learned from other counsels that Harvard IT will conduct a search of emails

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     As discussed below, among the requests for production to which Plaintiff was ordered to respond was one for
   communications “in which a third party has criticized You or Your legal abilities.”

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            based on search terms. We cannot give them a search term “criticism”. As such,
            you know what you are looking for and we are willing to comply as best possible,
            so please come up with a list of search terms.

   A true and correct copy of this email is attached hereto as Exhibit 3.

            9.        At no time, either in the email attached as Exhibit 3 or in any discussions with me,

   did Mr. Rodier state that Plaintiff believed he was not obligated to produce documents from his

   Harvard University account on the grounds that such documents were not in his possession.

            10.       On May 19, 2022, via an email sent by my colleague, Eric Feder, CNN provided a

   list of search terms for Plaintiff to request that Harvard run on Plaintiff’s archived emails. A true

   and correct copy of this email is attached hereto as Exhibit 4.

            11.       Over the next two weeks, CNN repeatedly requested that Plaintiff provide a date

   certain by which he will complete his production, including archived emails from his Harvard

   University email account, but Plaintiff never provided that information.

            12.       On May 25, 2022, in response to an email in which we inquired when Plaintiff’s

   second supplemental production would be made, and regarding the status of running the search

   terms on Plaintiff’s Harvard account, Mr. Rodier initially responded that “[n]othing else is in

   Plaintiff’s custody or possession,” that he “did try to go above and beyond and try to access

   Harvard emails if I can figure a way,” but that he “ha[d] not dropped everything to do this though.”

   He followed up that email two minutes later to state, “Correction. I do believe I am getting another

   packet from his other lawyers.”

            13.       The next day, after we asked Mr. Rodier to clarify whether Plaintiff was taking the

   position that he was “not willing to request th[e] search [his] Harvard emails,” Mr. Rodier

   responded: “I did not say I am unwilling. I have to gain a better understanding on how that would

   work. What I said was those emails are not in my client’s possession.” A true and correct copy



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   of the email thread containing the emails discussed in the previous paragraph and this paragraph

   is attached hereto as Exhibit 5.

            14.       On May 27, 2022, Plaintiff made an additional supplemental production of 100

   pages, again comprising documents that had been collected in connection with a different

   litigation.

            15.       On June 3, 2022, via an email from my colleague, Mr. Feder, we reached out to

   Plaintiff’s counsel to reiterate the deficiencies in his discovery responses and again inquire when

   those deficiencies would be cured. A true and correct copy of that email is attached hereto as

   Exhibit 6.

            16.       On Friday, June 10, 2022, Plaintiff filed a stipulated motion to substitute Mark

   Schweickert as new counsel in place of Brian Rodier. See ECF No. 144. The Court granted that

   motion on June 14, 2022. See ECF No. 149.

            17.       On Monday, June 13, 2022, I sent an email to Plaintiff’s new counsel, Mr.

   Schweickert, to raise a number of outstanding issues, including the deficiencies in Plaintiff’s

   discovery responses. I attached a copy of the June 3 email attached as Exhibit 6 to my June 13

   email to Mr. Schweickert. A true and correct copy of that email is attached hereto as Exhibit 7.

            18.       On June 15, 2022, my colleague, Mr. Feder, and I met and conferred via the Zoom

   videoconferencing platform with Mr. Schweickert. At that conference, we discussed the discovery

   deficiencies outlined in the June 3 email. Mr. Schweickert explained that he was still in the process

   of obtaining and reviewing the full case file, but that Plaintiff intended to comply with his

   discovery obligations. We agreed to reconvene on the following Monday, by which point Mr.

   Schweickert would have had the opportunity to investigate the status of the discovery issues with

   his client and predecessor counsel.



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            19.       On June 20, 2022, Mr. Feder and I again met with Mr. Schweickert via Zoom.

   During this meeting, Mr. Schweickert stated that Plaintiff was in the process of using search terms

   to query files that were in his possession to find additional responsive documents but did not

   provide a date certain when that review would be complete. Mr. Schweickert also stated that

   Plaintiff did not believe he was obligated to search for his emails that had been archived by Harvard

   because those documents were not in his “possession,” and he interpreted the Court’s orders at the

   April 21 Hearing as requiring Plaintiff to produce only documents in his “possession.”

            20.       Mr. Rodier had never asserted this position regarding Plaintiff’s Harvard emails

   and had never suggested that Plaintiff interpreted the Court’s April 21 Order to supplement his

   production as applying only to documents in his “possession,” and not documents that are

   otherwise in his “custody or control.”

            21.       At the meeting with Mr. Schweickert, I informed him that other courts in recent

   cases involving Plaintiff had ordered him to retrieve emails from his Harvard account in order to

   produce responsive documents during discovery, including in the Southern District of New York.

   I offered to provide him with copies of this precedent. Mr. Schweickert stated that orders from

   the New York court would not have bearing in this case, and Plaintiff intended to comply with the

   Court’s order, as he interpreted it – that is, as requiring that he produce documents in his

   “possession” only.

            22.       Attached hereto as Exhibit 8 is a true and correct copy of a pre-motion letter filed

   on February 26, 2021, by Virginia Giuffre in the Southern District of New York in an action against

   the Plaintiff, docketed as ECF No. 242 in a case captioned Giuffre v. Dershowitz, No. 19-cv-3377-

   LAP (S.D.N.Y.) (the “Giuffre Case”).




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            23.       Attached hereto as Exhibit 9 is a true and correct copy of the transcript of a court

   hearing held in the Giuffre Case on March 25, 2021 (which was docketed as ECF No. 408-1 in the

   Giuffre Case).

            24.       Attached hereto as Exhibit 10 is a true and correct copy of the transcript of a

   discovery hearing held on December 16, 2021 before Magistrate Judge Torres in an action filed in

   the Southern District of Florida captioned Dershowitz v. Netflix, Inc. No. 21-cv-21961-CMA.

            25.       On June 27, 2022, my colleague, Mr. Feder, spoke with Mr. Schweickert by phone

   to review the outstanding deficiencies and confirm whether any resolution was possible. I am

   advised that, on that call, Mr. Schweickert requested additional time to further investigate the

   issues, but that he would be in a position to report back with more information by 5:00 p.m. the

   following day.

            26.       On June 28, 2022, Mr. Feder and Mr. Schweickert spoke by phone again, and again

   reviewed the outstanding issues. I am advised that, on that call, Mr. Schweickert stated that his

   office was in the process of reviewing additional potentially responsive documents, and that he

   intended to produce documents on a “rolling” basis, but that he was not able to provide a date

   certain by which that rolling production would begin, let alone be completed. I am also advised

   that Mr. Schweickert would agree only to review documents in Plaintiff’s immediate possession,

   and would not agree to request that Harvard retrieve archived emails from Plaintiff’s university

   email account.

       I declare under the penalties of perjury that the foregoing is true and correct.

       Dated: June 29, 2022


                                                                   Katherine M. Bolger




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